
The Court of Appeals of Maryland, having consider the Joint Petition of the Attorney Grievance Commission and Respondent, Robert G. Lipman, to place Respondent on Inactive Status by Consent pursuant to Maryland Rule 19-736(c), it is this 12th day of January, 2017;
ORDERED, that the Joint Petition be, and it is hereby GRANTED, and the Respondent, Robert G. Lipman, is hereby placed on Inactive Status by consent; and it is further,
ORDERED, that the Clerk of this Court shall remove the name of Robert G. Lipman from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in *166this State in accordance with Maryland Rule 19-761.
